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                          EXHIBIT 3
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                     SUMMARY OF TIMEKEEPERS INCLUDED IN THIS SECOND INTERIM FEE APPLICATION
                                      (MAY 1, 2021 THROUGH AUGUST 27, 2021)



       NAME                  TITLE OR         DEPARTMENT             DATE OF            FEES BILLED             HOURS                      HOURLY RATE                      NUMBER
                             POSITION          GROUP, OR              FIRST               IN THIS              BILLED                        BILLED                         OF RATE
                                                SECTION             ADMISSION           APPLICATION            IN THIS                                                     INCREASES
                                                                                                             APPLICATION                                                     SINCE
                                                                                                                                    IN THIS            IN PREVIOUS            CASE
                                                                                                                                  APPLICATION            INTERIM           INCEPTION
                                                                                                                                                      APPLICATIONS
Michael D. Warner             Member           Bankruptcy &              1984                 $99,102.50                  80.9              $1,225              $1,225               0
                                               Restructuring
Ayala A. Hassell               Special         Bankruptcy &              1986                 $77,720.00                107.2                 $725                $725               0
                              Counsel          Restructuring
Kerri L. LaBrada              Paralegal        Bankruptcy &               n/a                 $14,628.00                  31.8                $460                $460               0
                                               Restructuring
                                                                   Sub-Total:               $191,450.50                 219.9
                                                                   Courtesy                 ($26,292.50)
                                                                   Reduction:
                                                                   Total:                  $165,158.001




   1 This amount includes a voluntary reduction of $26,292.50.     As stated in the Declaration of Michael D. Warner, Esq., in Support of the Application for Approval of the
   Employment of Pachulski Stang Ziehl & Jones LLP as Co-Counsel to the Official Committee of Unsecured Creditors, Effective January 20, 2021, Exhibit B to the Application
   for Approval of the Employment of Pachulski Stang Ziehl & Jones LLP as Co-Counsel to the Official Committee of Unsecured Creditors, Effective January 20, 2021 [Docket. No.
   894], PSZJ agreed with the Committee that, with respect to the hourly rate of Michael Warner for the balance of 2021, such rate will remain at $900 as such was the hourly rate
   at the time Michael Warner left his prior firm and became employed by PSZJ. Other attorneys providing services in this case are charging their current hourly rates.




   61542/0001-21663710v1
